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                                   3                                   UNITED STATES DISTRICT COURT

                                   4                                  NORTHERN DISTRICT OF CALIFORNIA

                                   5                                         SAN JOSE DIVISION

                                   6

                                   7        GOOGLE LLC,                                    Case No. 5:24-cv-05423-EJD
                                                         Plaintiff,                        ORDER GRANTING IN PART
                                   8
                                                                                           MOTION FOR PRELIMINARY
                                                  v.                                       INJUNCTION
                                   9

                                  10        NAO TSARGRAD MEDIA, et al.,
                                                                                           Re: ECF No. 41
                                                         Defendants.
                                  11

                                  12            In 2020, Plaintiff Google LLC terminated the Google Account associated with Defendant
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                                  13   NAO Tsargrad Media, a Russian media company. According to Google, it terminated Tsargrad’s

                                  14   account to comply with U.S. sanctions law and to enforce its own internal policies. Tsargrad

                                  15   responded by filing suit against Google in Russian court, alleging that the account termination

                                  16   violated Google’s Terms of Service (the Google Terms). Tsargrad won a judgment against

                                  17   Google in that lawsuit, but in the process, Tsargrad allegedly violated the Google Terms’ forum

                                  18   selection clause. Based on that alleged violation, Google now moves to enjoin Tsargrad from

                                  19   enforcing its Russian judgment anywhere in the world. The Court finds that Tsargrad likely

                                  20   procured its Russian judgment in violation of the Google Terms’ forum selection clause.

                                  21   Therefore, the Court GRANTS Google’s motion for a preliminary injunction, except to the extent

                                  22   that Google seeks to enjoin Tsargrad from enforcing its judgment in Russia.

                                  23   I.       BACKGROUND

                                  24            Tsargrad is a Russian media company whose indirect owner and parent company are

                                  25   subject to U.S. sanctions. Compl. ¶ 19, ECF No. 1; Andreatta Decl. ¶ 11, ECF No. 4-20. Because

                                  26
                                       1
                                  27    There are also pending preliminary injunction motions against Defendants ANO TV-Novosti
                                       (Case No. 5:24-cv-05426, ECF No. 4), and NO Fond Pravoslavnogo Televideniya (Case No. 5:24-
                                  28   cv-05428, ECF No. 4). As stated in a concurrent order, the Court does not resolve those motions.
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                                   1   of this, Google terminated Tsargrad’s Google account on or about July 27, 2020. Andreatta Decl.

                                   2   ¶ 11. A month later, Tsargrad filed suit in Russian court alleging in part that Google had violated

                                   3   its own Terms when terminating Tsargrad’s account. Radin Decl. I,2 Ex. 1, ECF No. 4-2.

                                   4          Tsargrad chose to file suit in Russian court despite the fact that the Google Terms

                                   5   contained a forum selection clause requiring “[a]ll disputes in any way relating to these terms” to

                                   6   be “subject to the exclusive jurisdiction of the federal and state courts located in Santa Clara

                                   7   County, California, USA.” Andreatta Decl., Ex. 1 at 17, ECF No. 4-21 (Google Terms). To

                                   8   justify filing suit in Russia, Tsargrad pointed to a Russian law—Article 248.1 of the Arbitrazh

                                   9   Procedural Code. Article 248.1 purports to vest “exclusive jurisdiction [in the] arbitrazh courts of

                                  10   the Russian Federation over disputes with the participation of persons against whom restrictive

                                  11   measures [i.e., sanctions] have been adopted.” Compl., Ex. F, ECF No. 1-6 (Art. 248.1). Part 4 of

                                  12   Article 248.1 further provides that any forum selection clause designating a non-Russian forum is
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                                  13   “unenforceable due to application in relation to one of the persons participating in the dispute of

                                  14   [foreign sanctions], creating obstacles for such a person in access to justice.” Art. 248.1(4).

                                  15          Over Google’s objections, the Russian arbitrazh court held that Article 248.1 allowed

                                  16   Tsargrad to maintain suit in Russia. Radin Decl. I, Ex. 2, ECF No. 4-3. Tsargrad eventually

                                  17   prevailed on the merits, and the Russian court entered judgment directing Google to restore

                                  18   Tsargrad’s account, backed by a compounding monetary penalty known as an astreinte. Radin

                                  19   Decl. I, Ex. 3 at 8, ECF No. 4-4. Ultimately, that judgment held up on appeal, with minor

                                  20   modifications, after the Russian Supreme Court denied review. Radin Decl. I, Ex. 6, ECF No. 4-7.

                                  21          Google did not restore Tsargrad’s account access. As a result, Tsargrad’s astreinte

                                  22   continued to accumulate and now, in combination with other similar astreintes, reportedly total at

                                  23   least twenty decillion dollars, a number equal to two followed by thirty-four zeroes. Radin Decl.

                                  24   II ¶¶ 22–23 & n.4, ECF No. 88-1. Recently, Tsargrad has begun taking steps to collect on its

                                  25

                                  26   2
                                         There are two Radin Declarations—one submitted with Google’s request for a preliminary
                                  27   injunction (ECF No. 4-1), and one submitted with Google’s reply in support of that request (ECF
                                       No. 88-1). Throughout this Order, the Court refers to them as “Radin Decl. I” and “Radin Decl.
                                  28   II,” respectively.
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                                   1   astreinte as part of what it calls a “global legal war” against Google. Id., Ex. 33, ECF No. 88-34.

                                   2   To that end, Tsargrad has initiated actions to enforce its judgments in courts around the world.

                                   3          Seeking to halt Tsargrad’s enforcement efforts, Google filed this suit, alleging breach of

                                   4   the Google Terms’ forum selection clause. At the same time, Google moved for a temporary

                                   5   restraining order (TRO) and preliminary injunction. PI Mot., ECF No. 4. With its motion, Google

                                   6   asked the Court to prevent Tsargrad from proceeding with further efforts to enforce its Russian

                                   7   judgment (an anti-enforcement injunction) and to prevent Tsargrad from asking the Russian courts

                                   8   to enjoin this suit (an anti-anti-suit injunction). The Court granted a TRO, which was later

                                   9   superseded by the parties’ stipulation for interim relief. ECF Nos. 21, 38. The Court now decides

                                  10   whether and on what terms to issue Google’s requested preliminary injunction.

                                  11   II.    LEGAL STANDARD

                                  12          Google identifies two tests that might apply to its requested relief. First is the traditional
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                                  13   Winter test for preliminary injunctions, which requires Google to show (1) a likelihood of success

                                  14   on the merits, (2) irreparable harm, (3) that the equities favor an injunction, and (4) that the public

                                  15   interest favors an injunction. Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 20 (2008). But

                                  16   there is also a second, more forgiving test specifically for anti-suit injunctions—those that bar a

                                  17   party from litigating in another court. If an anti-suit injunction passes this second test, it need not

                                  18   also satisfy the Winter factors. E. & J. Gallo Winery v. Andina Licores S.A., 446 F.3d 984, 991

                                  19   (9th Cir. 2006).

                                  20          Gallo lays out the contours of this second test. Microsoft Corp. v. Motorola, Inc., 696 F.3d

                                  21   872, 881 (9th Cir. 2012) (reading Gallo and related precedent as creating a three-part test for anti-

                                  22   suit injunctions). First, a party seeking to enjoin proceedings in a foreign court must show that the

                                  23   parties and issues are the same in the matter at hand and the matter to be enjoined. Id. This is a

                                  24   functional inquiry that turns on whether “all the issues in the foreign action . . . can be resolved in

                                  25   the local action.” Id. at 882–83 (quoting Applied Med. Distrib. Corp. v. Surgical Co. BV, 587 F.3d

                                  26   909, 915 (9th Cir. 2009)) (alteration in original). Second, that party must show at least one

                                  27   Unterweser factor has been met. Id. at 881. There are four Unterweser factors: whether foreign

                                  28   litigation would “(1) frustrate a policy of the forum issuing the injunction; (2) be vexatious or
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                                   1   oppressive; (3) threaten the issuing court’s in rem or quasi in rem jurisdiction; or (4) where the

                                   2   proceedings prejudice other equitable considerations.” Gallo, 446 F.3d at 990 (quoting Seattle

                                   3   Totems Hockey Club, Inc. v. Nat’l Hockey League, 652 F.2d 852, 855 (9th Cir. 1981)). Third, the

                                   4   moving party must show that an anti-suit injunction’s impact on comity would be “tolerable.”

                                   5   Microsoft, 696 F.3d at 881.

                                   6            Choosing whether to apply the Winter or Gallo tests is not straightforward in this case.

                                   7   Google does not request an anti-suit injunction, but the injunctions that it does request share

                                   8   similarities with anti-suit injunctions. At the same time, there are meaningful differences between

                                   9   Google’s requested relief and the type of injunction that Gallo contemplates. Still, at least for

                                  10   anti-anti-suit injunctions, the Court can conclude that the Gallo test applies. An anti-anti-suit

                                  11   injunction provides the same kind of remedy—restrictions on a party’s ability to seek relief in a

                                  12   foreign court—as an anti-suit injunction does. But an anti-anti-suit injunction is narrower than an
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                                  13   anti-suit injunction because it only blocks parties from seeking a particular type of relief (their

                                  14   own anti-suit injunction) in foreign court. Meanwhile, an anti-suit injunction prevents parties

                                  15   from pursuing any legal proceedings in a foreign court. As such, it is appropriate to apply the less

                                  16   demanding Gallo test when evaluating anti-anti-suit injunctions. Teck Metals Ltd. v. Certain

                                  17   Underwriters at Lloyd’s, London, No. 05-cv-411, 2009 WL 4716037, at *3 (E.D. Wash. Dec. 8,

                                  18   2009).

                                  19            Anti-enforcement injunctions pose a thornier question. While anti-enforcement

                                  20   injunctions restrict the availability of legal action in foreign courts like anti-suit injunctions, the

                                  21   two arise in very different procedural contexts. Most significantly, anti-enforcement injunctions

                                  22   can only be granted after a foreign court has entered a final judgment, and final judgments usually

                                  23   mark a turning point in transnational litigation. See Turner Ent. Co. v. Degeto Film GmbH, 25

                                  24   F.3d 1512, 1521 (11th Cir. 1994). Any concerns about “a race to judgment” become moot.

                                  25   Seattle Totems, 652 F.2d at 856. And the “near-universal policy in favor of res judicata comes

                                  26   into play.” Hannah L. Buxbaum & Ralf Michaels, Anti-Enforcement Injunctions, 56 N.Y.U. J.

                                  27   Int’l L. & Pol. 101, 103 (2023).

                                  28
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                                   1          What is more, anti-suit injunctions and anti-enforcement injunctions serve fundamentally

                                   2   different purposes. In transnational litigation, there are often multiple courts that have valid

                                   3   interests in resolving a dispute between two private parties. But it would be chaos for every single

                                   4   one of those courts to weigh in on the same dispute. Thus, there must be some principle by which

                                   5   courts and parties can allocate adjudicatory responsibility. See Hartford Fire Ins. Co. v.

                                   6   California, 509 U.S. 764, 817 (1993) (describing “the comity of courts, whereby judges decline to

                                   7   exercise jurisdiction over matters more appropriately adjudged elsewhere”); Gallo, 446 F.3d at

                                   8   992 (explaining how forum selection clauses are used to promote certainty about the court

                                   9   designated to resolve contract disputes). Anti-suit injunctions serve to enforce those allocations of

                                  10   responsibility by barring parties from going to other courts.

                                  11          Anti-enforcement injunctions do not play the same responsibility-allocating role. See

                                  12   Chevron Corp. v. Naranjo, 667 F.3d 232, 243 (2d Cir. 2012) (global anti-enforcement injunctions
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                                  13   “bear at most a passing resemblance” to anti-suit injunctions). A decision on whether to recognize

                                  14   and enforce a foreign judgment is a matter of public policy. Every individual country has its own

                                  15   rules on recognition and enforcement that reflect the country’s own policy choices. Buxbaum &

                                  16   Michaels, supra, at 106. Recognition of a judgment in one country does not compel recognition or

                                  17   nonrecognition in another. Id.; cf. Chevron, 667 F.3d at 240 (New York’s judgment recognition

                                  18   act did not permit Chevron to seek a declaration that an Ecuadorian judgment was globally

                                  19   unenforceable). As such, there is no single court, unlike in the case of resolving private disputes,

                                  20   that can or should determine the enforceability of a judgment as to the entire world. Every

                                  21   individual country has a strong interest in seeing that its own recognition policies are carried out

                                  22   while they have little interest in wading into other countries’ recognition policies. See Mujica v.

                                  23   AirScan Inc., 771 F.3d 580, 603 (9th Cir. 2014) (to identify the proper forum for transnational

                                  24   issues, courts need to weigh domestic interests against foreign interests).

                                  25          These differences between anti-enforcement injunctions and anti-suit injunctions also

                                  26   manifest as a mismatch between anti-enforcement injunctions and the Gallo test. The first step of

                                  27   the Gallo test requires the party seeking an injunction to show that the issues in the foreign forum

                                  28   can be resolved locally. Microsoft, 696 F.3d at 882–83. But in the anti-enforcement context, the
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                                   1   foreign proceedings involve the enforceability of judgments in countries outside the United States.

                                   2   Those issues, which are matters of public law and policy in the countries where Defendants seek

                                   3   enforcement, are distinct from the private contract dispute in this case. Therefore, the Court

                                   4   applies the Winter test to Google’s request for an anti-enforcement injunction.

                                   5   III.   DISCUSSION

                                   6          A.      Judicial Notice

                                   7          Google asks for judicial notice of various court and public records from the United States

                                   8   and abroad. ECF Nos. 5, 89. Both domestic and foreign court records and public records are

                                   9   subject to judicial notice. Color Switch LLC v. Fortafy Games DMCC, 377 F. Supp. 3d 1075,

                                  10   1089 n.6 (E.D. Cal. 2019). Tsargrad objects to three of the exhibits for which Google seeks notice

                                  11   ECF No. 91,3 but the Court did not rely on any of those three exhibits in deciding this Order. The

                                  12   Court therefore GRANTS Google’s requests for judicial notice.
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                                  13          B.      Anti-Enforcement Injunction

                                  14                  1.      Likelihood of Success on the Merits

                                  15          Google premises its request for an anti-enforcement injunction on its claim for breach of

                                  16   contract; namely, breach of the Google Terms’ forum selection clause. In opposing Google’s

                                  17   request, Tsargrad raises a litany of procedural defenses in addition to substantively disputing

                                  18   whether there was a breach. The Court starts with the procedural defenses before discussing

                                  19   substantive issues of breach, addressing each of Tsargrad’s arguments in turn.

                                  20                          a.     Personal Jurisdiction

                                  21          Tsargrad first argues that the Court lacks personal jurisdiction because minimum contacts

                                  22   are absent. However, minimum contacts analysis does not apply where, as here, parties have

                                  23   expressly consented to personal jurisdiction. Mewawalla v. Middleman, 601 F. Supp. 3d 574, 588

                                  24   (N.D. Cal. 2022) (quoting Burger King Corp. v. Rudzewicz, 471 U.S. 462, 472 n.14 (1985)). In

                                  25   agreeing to the Google Terms, Tsargrad unambiguously “consent[ed] to the personal jurisdiction

                                  26
                                       3
                                  27     Tsargrad states that it objects to Exhibits 1–11, 13, and 28 to the Radin Declaration submitted on
                                       reply. However, Tsargrad only makes arguments against Exhibits 10, 11, and 28. So, the Court
                                  28   considers any objections to Exhibits 1–9 and 13 to be forfeited.
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                                   1   of these courts,” i.e., the “federal and state courts located in Santa Clara County, California,

                                   2   USA.” Google Terms at 17.

                                   3           Trying to sidestep its consent, Tsargrad suggests that Google waived the forum selection

                                   4   clause by participating in the Russian proceedings, and that even if there was no waiver, the forum

                                   5   selection clause does not apply. As the Court discusses in more detail below, neither argument is

                                   6   correct on its own terms. Infra Section III.A.1.c.i. More fundamentally, those arguments say

                                   7   nothing about personal jurisdiction because they conflate Tsargrad’s consent to personal

                                   8   jurisdiction with the Google Terms’ forum selection clause. Personal jurisdiction is about a

                                   9   court’s authority over a party. Action Embroidery Corp. v. Atl. Embroidery, Inc., 368 F.3d 1174,

                                  10   1179 (9th Cir. 2004) (citation omitted). Forum selection is a venue issue that relates to the

                                  11   location a dispute should be resolved. Id. They are different concepts. Cox v. CoinMarketCap

                                  12   OPCO, LLC, 112 F.4th 822, 830–31 (9th Cir. 2024) (collecting cases). Whether or not a contract
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                                  13   requires disputes to be resolved in a particular location, and whether such requirement has been

                                  14   waived, says nothing about a court’s authority to hear disputes. Cf. Uber Techs., Inc. v. U.S. Jud.

                                  15   Panel on Multidist. Litig., --- F.4th ----, 2025 WL 748135, at *8 (9th Cir. Mar. 10, 2025) (“A

                                  16   forum selection clause cannot eliminate a district court’s jurisdiction . . . .”).

                                  17           That said, where consent to personal jurisdiction is implied from a forum selection clause,

                                  18   see SEC v. Ross, 504 F.3d 1130, 1149 (9th Cir. 2007), the issue of consent may rise or fall with

                                  19   that clause. But when contractual consent to personal jurisdiction is express and separate from any

                                  20   forum selection clause, like in the Google Terms, there is no basis for collapsing the two

                                  21   independent provisions into one. Accordingly, the Court has personal jurisdiction over Tsargrad

                                  22   in this matter involving the Google Terms—the very contract containing Tsargrad’s consent.

                                  23                           b.      Res Judicata

                                  24           Tsargrad next argues that its Russian judgment has preclusive effect and therefore bars

                                  25   Google’s breach of contract claim in this matter. Before engaging in any preclusion analysis,

                                  26   though, the Court must first decide whether to recognize the Russian judgment. Only recognized

                                  27   judgments can have preclusive effect. Alfa Consult SA v. TCI Int’l, Inc., No. 21-cv-00812, 2023

                                  28   WL 6466388, at *5 (N.D. Cal. Oct. 3, 2023).
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                                   1          Federal courts sitting in diversity look to state law when deciding whether to recognize

                                   2   foreign country judgments. Naoko Ohno v. Yuko Yasuma, 723 F.3d 984, 990 (9th Cir. 2013).4

                                   3   California law provides two avenues for recognition. The Recognition Act (Cal. Civ. Proc. Code

                                   4   §§ 1713–25) governs the recognition of most money judgments. See AO Alfa-Bank v. Yakovlev,

                                   5   21 Cal. App. 5th 189, 199 (2018). The recognition of all other foreign country judgments depends

                                   6   on general principles of international comity. Manco Contracting Co. (W.L.L.) v. Bezdikian, 45

                                   7   Cal. 4th 192, 198 (2008); Cal. Civ. Proc. Code § 1723 (“This chapter does not prevent the

                                   8   recognition under principles of comity or otherwise of a foreign-country judgment not within the

                                   9   scope of this chapter.”).

                                  10          Tsargrad’s Russian judgment has aspects that may fall under both regimes. It includes an

                                  11   injunctive component requiring Google to restore account access. That component is recognizable

                                  12   only under comity. But the Russian judgment also includes an astreinte, which at least in some
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                                  13   cases has been treated as a money judgment covered by the Recognition Act. de Fontbrune v.

                                  14   Wofsy, 838 F.3d 992, 1006–07 (9th Cir. 2016). The Court need not settle whether comity or the

                                  15   Recognition Act apply here, because both lead to the same result: nonrecognition.

                                  16          Comity. In its most basic form, comity refers to the extent one nation allows the judicial

                                  17   acts of another nation to have force within its borders. Hilton v. Guyot, 159 U.S. 113, 163 (1895).5

                                  18   But in practice, what comity means and how it functions has proven “complex and elusive.”

                                  19

                                  20   4
                                         Ohno held that the enforceability of foreign judgments is a matter of state law in diversity
                                  21   actions, but enforceability is technically different than recognition. Ohno, 723 F.3d at 987 n.2.
                                       However, the Ohno court explained that the distinction was “not pertinent” for its purposes, id., so
                                  22   the Court reads Ohno as standing for the proposition that state law applies for both enforceability
                                       and recognition when courts sit in diversity. Other courts to have considered the issue also apply
                                  23   state law when determining the recognition of foreign country judgments. E.g., BCS Bus.
                                       Consulting Servs. Pte. Ltd. v. Baker, --- F. Supp. 3d. ----, 2024 WL 4848789, at *7 (C.D. Cal.
                                  24   Nov. 4, 2024); Phillips USA, Inc. v. Allflex USA, Inc., 77 F.3d 354, 359 (10th Cir. 1996); Success
                                       Motivation Inst. of Japan Ltd. v. Success Motivation Inst., Inc., 966 F.2d 1007, 1009–10 (5th Cir.
                                  25   1992).
                                       In any case, the parties did not brief any choice of law issues, choosing instead to apply California
                                  26   law without comment. To that extent, they have forfeited any argument that some other law might
                                       apply to the recognition of foreign country judgments.
                                  27   5
                                         California courts analyzing comity look to both state and federal case law. See In re Stephanie
                                  28   M., 7 Cal. 4th 295, 314 (1994) (citing Hilton along with Second and Third Circuit decisions).
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                                   1   Laker Airways Ltd. v. Sabena, Belgian World Airlines, 731 F.2d 909, 937 (D.C. Cir. 1984).

                                   2          In one regard, comity is a matter of grace grounded in principles of reciprocity and

                                   3   cooperation. As the Ninth Circuit explains it, comity is “concerned with maintaining amicable

                                   4   working relationships between nations, a shorthand for good neighbourliness, common courtesy

                                   5   and mutual respect between those who labour in adjoining judicial vineyards.” Mujica, 771 F.3d

                                   6   at 598 (quoting JP Morgan Chase Bank v. Altos Hornos de Mex., S.A. de C.V., 412 F.3d 418, 423

                                   7   (2d Cir. 2005)) (internal quotations omitted). Or put differently, it is “a rule of practice,

                                   8   convenience, and expediency[,] rather than of law[,] that courts have embraced to promote

                                   9   cooperation and reciprocity with foreign lands.” Id. (quoting Pravin Banker Assocs., Ltd. v.

                                  10   Banco Popular Del Peru, 109 F.3d 850, 854 (2d Cir. 1997)) (cleaned up). Comity has also been

                                  11   described as the “spirit of cooperation in which a domestic tribunal approaches the resolution of

                                  12   cases touching the laws and interests of other sovereign states.” Société Nationale Industrielle
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                                  13   Áerospatiale v. U.S. Dist. Ct. for S. Dist. of Iowa, 482 U.S. 522, 543 n.27 (1987).

                                  14          Yet, it would be incorrect to characterize comity as no more than judicial gratuity. Even

                                  15   though comity “is [not] a matter of absolute obligation,” it is still more than “mere courtesy and

                                  16   good will.” Hilton, 159 U.S. at 163–64. Apart from promoting cooperation, comity also serves

                                  17   the vital purpose of avoiding the “international discord” that can stem from transnational litigation

                                  18   when there are “unintended clashes between our laws and those of other nations.” Mujica, 771

                                  19   F.3d at 605 (quoting EEOC v. Arabian Am. Oil Co., 499 U.S. 244, 248 (1991)). These concerns

                                  20   are not ones that courts can dismiss out of hand, and as a result, courts withhold comity “only

                                  21   when its acceptance would be contrary or prejudicial to the interest of the nation called upon to

                                  22   give it effect.” Wilson v. Marchington, 127 F.3d 805, 809 (9th Cir. 1997) (quoting Somportex Ltd.

                                  23   v. Phila. Chewing Gum Corp., 453 F.2d 435, 440 (3d Cir. 1971)).

                                  24          In the context of judgment recognition, the Ninth Circuit has distilled these comity

                                  25   principles into two grounds for mandatory nonrecognition and four grounds for discretionary

                                  26   nonrecognition. The two mandatory grounds are “(1) the [foreign] court did not have both

                                  27   personal and subject matter jurisdiction; [and] (2) the defendant was not afforded due process of

                                  28   law.” Id. at 810. The four discretionary grounds are “(1) the judgment was obtained by fraud; (2)
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                                   1   the judgment conflicts with another final judgment that is entitled to recognition; (3) the judgment

                                   2   is inconsistent with the parties’ contractual choice of forum; [and] (4) recognition of the judgment,

                                   3   or the cause of action upon which it is based, is against the public policy of the United States or

                                   4   the forum state in which recognition of the judgment is sought.” Id. The third and fourth

                                   5   discretionary grounds are the ones relevant to this Order.

                                   6          The third discretionary ground is triggered by violations of a forum selection clause. This

                                   7   leads to the unusual situation here, where the ground for nonrecognition is the same as the

                                   8   underlying claim. The Court must therefore engage in the strange-sounding exercise of

                                   9   determining whether the Russian proceedings violated the Google Terms’ forum selection clause

                                  10   in order to determine whether those Russian proceedings can preclude Google’s claim for

                                  11   violation of that same forum selection clause. While this may seem awkward on the surface, there

                                  12   is an easy way to understand what is happening. In effect, comity prevents courts from giving
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                                  13   preclusive weight to a foreign court’s decision relating to a forum selection clause. Instead,

                                  14   comity always requires courts to independently consider forum selection issues. Following that

                                  15   approach, the Court finds, for the reasons below, that Tsargrad violated the Google Terms’ forum

                                  16   selection clause by pursuing its lawsuit in Russia. Infra Section III.A.1.c.i. Tsargrad’s Russian

                                  17   judgment is therefore not entitled to recognition under the third ground.

                                  18          The fourth discretionary ground based on public policy also justifies nonrecognition, and it

                                  19   perhaps gets at a more basic truth about the Russian judgment at issue here. Tsargrad was able to

                                  20   secure its Russian judgment only because of Article 248.1, which purports to vest “exclusive

                                  21   jurisdiction” in the Russian courts. Art. 248.1(1). That law is expressly aimed at circumventing

                                  22   the otherwise proper jurisdiction of the U.S. courts. What is more, in applying Article 248.1, the

                                  23   Russian courts sought to delegitimize the U.S. court system by holding that the U.S. courts were

                                  24   not a fair forum capable of delivering justice. Radin Decl. I, Ex. 2 at 4 (Russian court holding that

                                  25   Tsargrad did not have “proper access to the justice system” in the United States). In short, the

                                  26   Russian judgment is the culmination of an effort to frustrate the U.S. courts’ jurisdiction in clear

                                  27   violation of U.S. public policy. See Laker Airways, 731 F.2d at 938 (no comity should be

                                  28   extended to efforts “specifically intended to interfere with and terminate” a U.S. lawsuit). No
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                                   1   principle of comity requires this Court to recognize and give force to judgments won on the basis

                                   2   of actions taken to undermine its lawful authority. That being so, comity does not support

                                   3   recognizing the Russian judgment.

                                   4          Recognition Act. The analysis under the Recognition Act is nearly identical to the comity

                                   5   analysis. The Act creates a presumption in favor of recognizing judgments within its scope. Alfa-

                                   6   Bank, 21 Cal. App. 5th at 199; Cal. Civ. Proc. Code § 1716(a) (“Except as otherwise provided . . .

                                   7   a court of this state shall recognize a foreign-country judgment to which this chapter applies.”)

                                   8   (emphasis added). The burden is on the party resisting recognition to show that one of the Act’s

                                   9   specifically enumerated grounds for nonrecognition applies. Alfa-Bank, 21 Cal. App. 5th at 199.

                                  10   The two relevant grounds are violation of a forum selection clause and incompatibility with U.S.

                                  11   public policy, which are the same two grounds discussed in the comity analysis above. Cal. Civ.

                                  12   Proc. Code §§ 1716(c)(1)(C)–(D). The only difference under the Act is that once the party
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                                  13   resisting recognition proves one of these grounds is met, the party seeking recognition still has a

                                  14   chance to “demonstrate[] good reason to recognize the judgment that outweighs the ground for

                                  15   nonrecognition.” Cal. Civ. Proc. Code § 1716(c)(2). If the party seeking recognition fails to do

                                  16   so, then the judgments are not recognized.

                                  17          The Court’s comity analysis applies equally to the Recognition Act and shows that Google

                                  18   has proven the relevant grounds for nonrecognition are met. Tsargrad offer no reasons to

                                  19   recognize the Russian judgment in spite of that fact. Accordingly, the Russian judgment is not

                                  20   subject to recognition under the Act either, and it has no preclusive effect in this Court.

                                  21                          c.      Breach of Contract

                                  22          Having resolved Tsargrad’s procedural arguments, the Court turns to its defense on the

                                  23   merits. There are two layers to the analysis here. First, there is the question of whether, in filing

                                  24   suit in Russian court, Tsargrad violated the Google Terms’ forum selection clause. If the answer

                                  25   to that question is “yes,” that prompts the follow-up question—What significance does violation

                                  26   of the forum selection clause have now that the underlying Russian proceedings are over?

                                  27          In resolving those two questions, the Court first finds that Google is likely to show

                                  28   Tsargrad violated the forum selection clause by suing in Russia. And second, because the Google
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                                   1   Terms contain an implied clause that bars parties from seeking to enforce judgments acquired in

                                   2   violation of the forum selection clause, Google is likely to show that Tsargrad’s enforcement

                                   3   efforts are an ongoing breach.

                                   4                                    i.     Past Russian Proceedings
                                   5           The forum selection clause here is straightforward: “All disputes in any way relating to

                                   6   these terms . . . . are subject to the exclusive jurisdiction of the federal and state courts located in

                                   7   Santa Clara County, California, USA.” Google Terms at 17. The only exception to the clause is

                                   8   when “applicable local law prevents certain disputes from being resolved in a California court.”

                                   9   Id. at 18. A party “may submit those disputes to local courts.” Id. There is no question that

                                  10   Defendants did not file their lawsuits in Santa Clara County, so the only issue with respect to

                                  11   breach is whether the exception applies.

                                  12           At the outset, the Court observes that the Google Terms contain a choice-of-law clause.
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                                  13   That clause selects California law, id. at 17, and no party disputes that California law applies.6

                                  14   Under California law, courts interpret contracts “to give effect to the mutual intention of the

                                  15   parties at the time the contract is formed.” Manzarek v. St. Paul Fire & Marine Ins. Co., 519 F.3d

                                  16   1025, 1031 (9th Cir. 2008) (internal quotations and citations omitted). When the contract

                                  17   language is “[c]lear, explicit, and unambiguous,” that language governs. Id.

                                  18           The exception is written in that kind of clear and unambiguous language. It applies when

                                  19   “local law” (here, Russian law) applies to “prevent” disputes between Google and Tsargrad from

                                  20   being resolved in California court. The plain meaning of “prevent” is to stop something from

                                  21   happening or otherwise hinder something from happening. So, the exception is triggered if there

                                  22   is a Russian law that stops Tsargrad from filing suit in California or that otherwise hinders

                                  23   Tsargrad from doing so. Tsargrad contends that Article 248.1 is such a law.

                                  24

                                  25   6
                                        Tsargrad cites to its motion to dismiss in support of its proposed contract interpretation. PI
                                  26   Opp’n at 12, ECF No. 85 (citing Mot. to Dismiss at 16–26, ECF No. 81). Then, in its motion to
                                       dismiss, Tsargrad explains that “California and Russian law are the same, so the Court need not
                                  27   engage in a conflict-of-law analysis and may apply California law.” Mot. to Dismiss at 16 n.5.
                                       So, while Tsargrad’s arguments take a circuitous route, its admission that California law applies is
                                  28   unambiguous.
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                                   1          Assuming that the Russian courts were correct to hold that Article 248.1 applies to

                                   2   Tsargrad, Article 248.1 still did not prevent Tsargrad from filing suit in California. There are two

                                   3   clauses in the Article that might prevent resolution in California. The first is Part 1, which

                                   4   purports to vest “exclusive jurisdiction” in the Russian arbitrazh courts. Art. 248.1(1). But the

                                   5   word “exclusive” does not do as much work as Tsargrad suggests. Obviously, the Russian courts’

                                   6   jurisdiction over Tsargrad’s claims is not “exclusive” in the sense that no other court in the world

                                   7   has the power to resolve those claims. For good reason, Tsargrad does not argue that Russian law

                                   8   can reach across international borders to strip all other courts of their jurisdiction. In the United

                                   9   States, a federal court’s jurisdiction depends on the Constitution and federal statute, not Russian

                                  10   law. Article 248.1’s exclusive-jurisdiction clause therefore does not “prevent” Tsargrad from

                                  11   resolving its dispute in California by stripping California courts of their authority and jurisdiction.

                                  12          Nor does the exclusive-jurisdiction clause impose any affirmative legal obligation on
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                                  13   Tsargrad to file suit in Russian court. For one, the Russian courts’ “exclusive” jurisdiction is not

                                  14   backed by any fine, penalty, or other sanction could compel Tsargrad to file in Russia. More

                                  15   importantly, other sections of Article 248.1 undercut the notion that parties covered by the Article

                                  16   have no choice but to file suit in Russia. Specifically, Part 5 provides that Article 248.1 “shall not

                                  17   impede the recognition and enforcement of a decision of a foreign court . . . adopted pursuant to

                                  18   the claim of a [covered party] . . . , or if that [covered party] has not objected to the consideration

                                  19   of the dispute . . . by a foreign court.” Art. 248.1(5). In other words, Article 248.1 protects the

                                  20   recognition of non-Russian judgments won by a covered party or rendered against a covered party

                                  21   who did not object to the foreign court’s jurisdiction. The only way this provision makes sense is

                                  22   if Article 248.1 allows covered parties the option of pursuing their disputes in non-Russian courts,

                                  23   notwithstanding the Russian courts’ “exclusive jurisdiction.”

                                  24          The only other clause that might “prevent” Tsargrad from filing suit in California is Part 4,

                                  25   which renders unenforceable any forum selection clause choosing a non-Russian forum. Art.

                                  26   248.1(4). All that means, however, is that the Russian courts could not compel Tsargrad to file in

                                  27   California under the Google Terms. Part 4 does not rewrite the Google Terms to obligate

                                  28   Tsargrad to file in Russia.
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                                   1             Given all this, the Court concludes that Article 248.1 did not “prevent” Tsargrad’s disputes

                                   2   with Google from being resolved in a California court. Rather, the Article provided Tsargrad with

                                   3   the option of proceeding in Russian court by instructing Russian courts not to enforce contrary

                                   4   forum selection clauses. Tsargrad took advantage of that option, but it did so at the risk that

                                   5   another court, where forum selection clauses are enforceable, would find that Tsargrad violated

                                   6   the Google Terms’ forum selection clause. That is the case here. Accordingly the local-law

                                   7   exception did not apply, and Tsargrad likely violated the Google Terms’ forum selection clause by

                                   8   filing suit in Russia.

                                   9             Tsargrad counters that Russian courts have specifically used the word “prevents” when

                                  10   discussing how Article 248.1 impacts forum selection issues. Nikitin Decl. ¶¶ 55, 60, 62–63, ECF

                                  11   No. 81-3 (citing Russian cases). In light of the analysis above, though, that appears to be little

                                  12   more than imprecise use of language. The notion that Article 248.1 is a bar against the resolution
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                                  13   of disputes outside of Russia runs headfirst into Part 5.

                                  14             Tsargrad also tries to invoke the rule that “ambiguities in written agreements are to be

                                  15   construed against their drafters.” PI Opp’n at 14 (quoting Sandquist v. Lebo Auto., Inc., 1 Cal. 5th

                                  16   233, 247 (2016)). Tsargrad appears to be citing this well-known canon of contract interpretation

                                  17   to create a presumption against breach. However, as a canon of contract interpretation, the

                                  18   presumption against drafters unsurprisingly applies only to interpretation of contract language, not

                                  19   factual determinations about breach. And as the Court explained above, there are no ambiguities

                                  20   in the Google Terms’ relevant language, so the canon does not apply to the Terms’ interpretation,

                                  21   either.

                                  22             In a final attempt to win on the merits, Tsargrad argues that there was no breach because

                                  23   Google waived the forum selection clause by participating in the Russian proceedings through

                                  24   judgment and final appeal. While parties can waive a forum selection clause, courts require a very

                                  25   strong showing to find waiver. See Newco Distribs., Inc. v. Earth Animal Ventures, No. 8:24-cv-

                                  26   01850, 2024 WL 4828714, at *7 (C.D. Cal. Nov. 18, 2024); Marcotte v. Micros Sys., No. 14-cv-

                                  27

                                  28
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                                   1   01372, 2014 WL 5280875, at *4 (N.D. Cal. Oct. 14, 2014).7 Courts find waiver only where a

                                   2   party has “taken actions inconsistent with [a forum selection clause], or delayed its enforcement,

                                   3   and enforcement would prejudice other parties.” S & J Rentals, Inc. v. Hilti, Inc., 294 F. Supp. 3d

                                   4   978, 984 (E.D. Cal. 2018). None of Google’s actions in the Russian proceedings rise to that level.

                                   5          To be sure, Google did not take advantage of one method of enforcing its forum selection

                                   6   clause—seeking an anti-suit injunction to halt the Russian proceedings while they were ongoing.

                                   7   But an anti-suit injunction is not the only way to protect forum selection rights. Google also could

                                   8   have tried, and did try, to enforce its forum selection clause directly in the Russian proceedings.

                                   9   Radin Decl. II, Ex. 1 at 1–2, 7–9, ECF No. 88-2. Those actions are consistent with the forum

                                  10   selection clause even though Google did not ultimately prevail on its arguments in Russian court.

                                  11          For these reasons, the Court finds that Google is likely to prove that Tsargrad breached the

                                  12   forum selection clause by filing suit in Russia.
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                                  13                                  ii.    Current Enforcement Efforts

                                  14          Were Google not seeking injunctive relief, the Court could probably end its analysis there.

                                  15   Injunctive relief requires one more step, though, because injunctions are only available to redress

                                  16   ongoing or anticipated future harms, not past wrongs. City of L.A. v. Lyons, 461 U.S. 95, 102, 105

                                  17   (1983). Since the Russian proceedings are now over, a violation of the forum selection clause

                                  18   based on those proceedings is a wholly past wrong. To show a likelihood of success for injunctive

                                  19   purposes, Google must show that there is some ongoing or anticipated breach of contract.

                                  20          Efforts to enforce the Russian judgments do not violate the Google Terms’ forum selection

                                  21   clause directly. Nowhere in the forum selection clause is enforcement mentioned. And

                                  22   enforcement is different than a private dispute between Google and Tsargrad, which the forum

                                  23   selection clause does cover. Enforcement actions cannot be viewed as purely private disputes

                                  24   since they contain a significant public-law component: they reflect the enforcing forum’s policy

                                  25   on how to structure judicial relations with foreign courts. Supra Section II.

                                  26
                                       7
                                  27     Neither side is clear about which law of waiver applies, but based on their citations, it appears
                                       that they are relying on some mix of federal common law and California law. In the absence of
                                  28   any choice-of-law argument, the Court does the same.
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                                   1          That said, the forum selection clause is not the only contractual provision at issue. Under

                                   2   California law, “[e]vidence derived from experience and practice can [] trigger the incorporation

                                   3   of additional, implied terms.” Retired Emps. Ass’n of Orange Cnty., Inc. v. Cnty. of Orange, 52

                                   4   Cal. 4th 1171, 1178–79 (2011) (citation omitted) (first alteration in original). That is so even

                                   5   where there is a written contract. Id. Courts will therefore imply contractual terms when (1) the

                                   6   implied term “arise[s] from the language used or [is] indispensable to effectuate the intention of

                                   7   the parties”; (2) the implied term is “so clearly within the contemplation of the parties that they

                                   8   deemed it unnecessary to express it”; (3) the implied term is a “legal necessity”; (4) it can be

                                   9   assumed that the parties would have agreed to the implied term “if attention had been called to it”;

                                  10   and (5) the implied term is not covered by the contract. Frankel v. Bd. of Dental Examiners, 46

                                  11   Cal. App. 4th 534, 545–46 (1996); see also Grebow v. Mercury Ins. Co., 241 Cal. App. 4th 564,

                                  12   578–79 (2015) (applying same test).
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                                  13          All five of those factors support implying a term that bars parties from enforcing

                                  14   judgments obtained in violation of the forum selection clause. First, such a term is indispensable

                                  15   to close the loophole that arises in cases like this, where parties can win judgments in a court that

                                  16   refuses to enforce forum selection clauses. By doing so, a party could bypass forum selection

                                  17   clauses completely, and its counterparty to the contract would have no recourse. Second, the term

                                  18   is an obvious extension of the forum selection clause. If a party cannot file suit outside of

                                  19   California, it stands that the party should not be able to obtain or enforce judgments won outside

                                  20   of California. Third, the term is a legal necessity to close the loophole just described. Fourth, if

                                  21   the parties were willing to limit their disputes to a single forum, they would almost certainly agree

                                  22   not to enforce judgments from outside that forum—after all, if they adhere to the forum selection

                                  23   clause, there would be no such outside judgments. Finally, the Google Terms do not cover this

                                  24   issue because it addresses only private disputes, not enforcement actions.

                                  25          The Court therefore finds that the Google Terms contain an implied provision barring

                                  26   parties from enforcing judgments obtained in violation of the Terms’ forum selection clause. By

                                  27   initiating actions to enforce the Russian judgments procured in violation of the forum selection

                                  28   clause, Tsargrad is likely breaching that implied provision.
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                                   1                   2.      Irreparable Harm

                                   2           Google claims that it would suffer irreparable harm without an injunction because it would

                                   3   be exposed to a judgment that requires it to violate U.S. sanctions law, and because allowing

                                   4   continued enforcement efforts would rob it of the benefit of its forum selection clause. For

                                   5   purposes of this Order, it suffices to address just the latter.

                                   6           Courts around the country regularly hold that the “depriv[ation] of [a] bargained-for choice

                                   7   of forum” constitutes irreparable harm sufficient to support an injunction. Nippon Shinyaku Co. v.

                                   8   Sarepta Therapeutics, Inc., 25 F.4th 998, 1008 (Fed. Cir. 2022); see also Forbes IP (HK) Ltd. v.

                                   9   Media Bus. Generators, S.A. de C.V., No. 23-cv-11168, 2024 WL 1743109, at *7 (S.D.N.Y. Apr.

                                  10   23, 2024); DGCI Corp. v. Triple Arrow Co. for Gen. Trading Co., No. 21-cv-1174, 2022 WL

                                  11   18671069, at *9 (E.D. Va. Aug. 18, 2022), report and recommendation adopted, 2022 WL

                                  12   18671062 (E.D. Va. Sept. 13, 2022); Enerplus Res. (USA) Corp. v. Wilkinson, No. 1:16-cv-103,
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                                  13   2016 WL 8737869, at *4 (D.N.D. Aug. 30, 2016), aff’d, 865 F.3d 1094 (8th Cir. 2017);

                                  14   InterDigital Tech. Corp. v. Pegatron Corp., No. 15-cv-02584, 2015 WL 3958257, at *9 (N.D. Cal.

                                  15   June 29, 2015); Gen. Protecht Grp., Inc. v. Leviton Mfg. Co., No. 10-cv-1020, 2010 WL 5559750,

                                  16   at *25 (D.N.M. Nov. 30, 2010), aff’d, 651 F.3d 1355 (Fed. Cir. 2011). Such harm is irreparable

                                  17   because it forces a party to expend time and effort litigating in a forum that it has agreed to avoid,

                                  18   and the party will never be able to get that time back. Indeed, the Ninth Circuit has observed that

                                  19   an injunction “may be the only viable way” to protect against such harm. Applied Med., 587 F.3d

                                  20   at 919 (emphasis added).

                                  21           Of course, it is not the direct violation of the forum selection clause that is at issue here,

                                  22   but rather, the violation of the implied prohibition against enforcing wrongfully procured

                                  23   judgments. Supra Section III.A.1.c.ii. That distinction makes no difference, though. By the terms

                                  24   of the forum selection clause, a wrongfully procured judgment never should have existed, so any

                                  25   time spent defending against it represents time and effort that a party can never recover. As such,

                                  26   the Court finds that Google has shown irreparable harm.

                                  27                   3.      Balance of the Equities

                                  28         Tsargrad raises two equitable defenses to Google’s requested injunctions. It begins by
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                                   1   arguing that Google came to the Court with unclean hands. Under the unclean hands doctrine,

                                   2   plaintiffs seeking equitable relief are required to “act[] fairly and without fraud or deceit as to the

                                   3   controversy in issue.” Northbay Wellness Grp., Inc. v. Beyries, 789 F.3d 956, 959 (9th Cir. 2015)

                                   4   (citation omitted). Tsargrad claims that Google violated this precept when it moved for a TRO

                                   5   without complying with the heightened duty of candor that applies to ex parte proceedings.

                                   6   Specifically, Tsargrad claims that Google violated California Rule of Professional Conduct 3.3(d),

                                   7   which requires attorneys in ex parte proceedings to disclose “all material facts known . . . whether

                                   8   or not the facts are adverse to the position of the client.” Tsargrad says that Google failed to live

                                   9   up to this standard by concealing an allegedly fraudulent transfer of funds from Google’s Russian

                                  10   affiliate to another Google entity, keeping silent about defenses to personal jurisdiction, and

                                  11   mischaracterizing U.S. sanctions law.

                                  12          By and large, the “facts” that Google supposedly concealed are legal arguments and
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                                  13   defenses that are heavily disputed. While attorneys do have an obligation to disclose all material

                                  14   facts in ex parte proceedings, there is no comparable obligation to make arguments or raise

                                  15   defenses against their client’s interest. Google disclosed all the most significant facts, including

                                  16   the existence of Article 248.1 and the court decisions stemming from Tsargrad’s Russian lawsuit.

                                  17   The only undisclosed fact that Tsargrad identifies—as opposed to argument or defense—is the

                                  18   allegedly fraudulent transfer from Google’s Russian affiliate to another Google entity. On that

                                  19   point, Google firmly disagrees with Tsargrad’s characterization. Radin Decl. II ¶¶ 20–21. In any

                                  20   case, Tsargrad has neither supplied competent evidence about the transfer that would allow the

                                  21   Court to conclude it was fraudulent, nor has it argued that the Russian courts’ findings on that

                                  22   issue are res judicata or otherwise binding. Therefore, Google’s hands are clean.

                                  23          Tsargrad’s more substantial argument is that Google unduly delayed when bringing this

                                  24   suit, a type of equitable argument that sounds in laches.8 See Danjaq LLC v. Sony Corp., 263 F.3d

                                  25

                                  26   8
                                         Like some other courts have done, Tsargrad raised delay under the rubric of irreparable harm.
                                  27   E.g., Oakland Trib., Inc. v. Chron. Publ’g Co., 762 F.2d 1374, 1377 (9th Cir. 1985). The Court
                                       instead chooses to discuss delay as an equitable defense to emphasize the flexibility of the inquiry
                                  28   and the need to balance the equities as a whole.
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                                   1   942, 950–51 (9th Cir. 2001). Tsargrad advocates for measuring Google’s delay from the moment

                                   2   it first filed suit in Russian court, faulting Google for not seeking an anti-suit injunction to halt the

                                   3   earlier Russian proceedings and instead bringing this case only after judgment had been rendered.

                                   4   But Google had good reason for not seeking an anti-suit injunction. As Google’s expert explained

                                   5   and Tsargrad did not attempt to rebut, a Russian court almost certainly would not have enforced an

                                   6   anti-suit injunction halting Tsargrad’s Russian lawsuit. Holiner Decl. ¶¶ 29–37, ECF No. 88-42.

                                   7   In all likelihood, if Google had made an attempt at securing an anti-suit injunction in U.S. court

                                   8   during the pendency of Tsargrad’s Russian lawsuit, that would have led to parallel litigation in

                                   9   two courts over Google’s forum selection clause. That state of affairs would be little different

                                  10   than the one now, where two courts are or have been asked to rule on the forum selection clause:

                                  11   the Court in this matter, and the Russian court in Tsargrad’s prior lawsuit.

                                  12           More to the point, it is not breach of the forum selection clause that justifies an injunction
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                                  13   in this case. It is breach of the implied contractual term barring enforcement of judgments

                                  14   procured in violation of the forum selection clause. Indeed, Google could not seek injunctive

                                  15   relief until it became likely that Tsargrad would seek enforcement of its Russian judgment because

                                  16   Google would lack standing. See Lyons, 461 U.S. at 105. Given the eye-popping decillion-dollar

                                  17   figure associated with the various Russian judgments against Google, including Tsargrad’s

                                  18   astreinte, it was reasonable for Google to assume that Tsargrad’s astreinte was largely symbolic,

                                  19   with little possibility of enforcement. That is the case despite Tsargrad’s media statements

                                  20   promising retribution against Google. See Radin Decl. II, Ex. 33; Ex. 34, ECF No. 88-35. Thus, it

                                  21   was reasonable for Google to wait until Tsargrad initiated enforcement proceedings before filing

                                  22   this lawsuit, and any delay must be measured against the time when Tsargrad began its

                                  23   enforcement efforts.

                                  24           Tsargrad opened its first enforcement action in November 2023. Iliasova Decl., Ex. C,

                                  25   ECF No. 85-15. This lawsuit came nine months later, on August 19, 2024. See Compl. Although

                                  26   nine months is a significant amount of time, there is a good explanation for why Google waited

                                  27   that long. Tsargrad filed its enforcement action in Turkish court on November 3, 2023, but it did

                                  28   not effectuate service on Google until August 2, 2024. Radin Decl. I ¶ 3. Google filed this
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                                   1   lawsuit just under three weeks after service. That is not a meaningful delay that cuts against

                                   2   issuing equitable relief.

                                   3           With Tsargrad’s equitable defenses failing to hold up, the Court finds that the equities

                                   4   favor an injunction. It is obvious that Google’s dispute with Tsargrad has long since transcended a

                                   5   simple disagreement over account access. Tsargrad makes no secret of its view that Google is an

                                   6   “American monster” and that it is carrying out a “global legal war” against Google. Radin Decl.

                                   7   II, Ex. 33 at 1. And Tsargrad has telegraphed its intent to drive Google into bankruptcy, saying:

                                   8   “[W]e will pursue [Google] around the world. Carthage must be destroyed.” Id., Ex. 34. With

                                   9   this context, there is no other way to interpret Tsargrad’s enforcement efforts against Google than

                                  10   as a punitive campaign driven by animus and enmity. In other words, the enforcement efforts are

                                  11   vexatious and oppressive. The equities support enjoining such conduct.

                                  12                   4.      Public Interest
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                                  13           This leaves the final Winter factor, public interest. While all three earlier factors supported

                                  14   issuance of an anti-enforcement injunction, the public interest weighs against. Specifically,

                                  15   comity—the amorphous, but important, spirit of cooperation between the courts of different

                                  16   nations, see supra Section III.A.1.b—weighs against issuing a global anti-enforcement injunction.

                                  17           Even though the Court earlier found that comity did not require recognition of Tsargrad’s

                                  18   Russian judgment, the decision on whether to issue an anti-enforcement injunction presents

                                  19   different concerns. The recognition decision was cabined to the United States, so any comity

                                  20   concerns existed only between the United States and Russia. Google’s requested anti-enforcement

                                  21   injunction, however, would reach across the entire globe. The comity concerns arising from that

                                  22   injunction are therefore between the United States and every other country there is.

                                  23           Google encourages the Court to set aside any misgivings about the injunction’s global

                                  24   reach, pointing the Court to the Ninth Circuit’s discussion in Gallo that “enforcing a contract and

                                  25   giving effect to substantive rights . . . . in no way breaches norms of comity.” 446 F.3d at 994.

                                  26   Google also observes that the requested injunction would act on Tsargrad in personam, not on any

                                  27   court of a foreign country. While those are mitigating factors, they do not eliminate all concerns

                                  28   about comity.
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                                   1          To begin, Gallo did not deal with an anti-enforcement injunction. Instead, Gallo

                                   2   emphasized that it was dealing with a private dispute between private parties and enforcing a

                                   3   private contract. Id. Enforcement proceedings, though, have an inescapable public component, so

                                   4   the comity implications that come from enjoining enforcement are greater than those that come

                                   5   from enjoining suit pursuant to a forum selection clause. Further, while it is true that Google does

                                   6   not request the Court to enjoin other countries’ tribunals directly, an injunction against Tsargrad

                                   7   would undoubtedly interfere indirectly with those countries’ ability to see their policies on

                                   8   judgment recognition through. Most important of all, Google asks for a worldwide injunction

                                   9   unlike in Gallo, where the plaintiff sought to enjoin litigation in only one other country. “[W]hen

                                  10   a court in one country attempts to preclude the courts of every other nation from ever considering

                                  11   the effect of [a] foreign judgment, the comity concerns become far graver” than when dealing with

                                  12   an injunction against litigation in a single foreign nation. Chevron, 667 F.3d at 244. As a result,
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                                  13   comity weighs strongly against an anti-enforcement injunction.

                                  14          However, comity is not the end-all-be-all when it comes to injunctions. Even where an

                                  15   injunction would upset some comity interests, courts can issue that injunction if the “impact on

                                  16   comity is tolerable.” Gallo, 446 F.3d at 991. Here, as strongly as comity weighs against an anti-

                                  17   enforcement injunction, the other three Winter factors weigh heavier still. Considering how

                                  18   Tsargrad’s Russian judgment came as a result of concerted efforts to evade the jurisdiction of U.S.

                                  19   courts; how the amount that Google owes in Russian judgments is grossly excessive under any

                                  20   reasonable view of due process, see BMW of N. Am., Inc. v. Gore, 517 U.S. 559, 568 (1996); and

                                  21   how Tsargrad is admittedly pursuing a campaign of vexatious litigation against Google; it is

                                  22   appropriate to issue a global anti-enforcement injunction despite the weighty comity issues that

                                  23   accompany such an action.

                                  24          The Court notes one exception to the global nature of its anti-enforcement injunction: The

                                  25   Court does not enjoin Tsargrad from seeking enforcement of its judgment in Russian court.

                                  26   Whatever the strength of Tsargrad’s Russian judgment, from a comity perspective, it is simply a

                                  27   bridge too far to enjoin a Russian citizen from enforcing a Russian judgment in Russian court.

                                  28                                             *       *       *
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                                   1          The Court GRANTS an anti-enforcement injunction preventing Tsargrad from seeking to

                                   2   enforce its Russian judgment anywhere around the world except for Russia.

                                   3                  5.      Scope of Relief

                                   4            The Court identifies the exact terms of its injunction in the Conclusion below, but it

                                   5   briefly addresses here Tsargrad’s arguments for limiting the scope of relief.

                                   6          First, Tsargrad argues that the Court should not grant a mandatory injunction that orders it

                                   7   to dismiss any pending enforcement proceedings. Given the preliminary posture of this case, the

                                   8   Court does not do so now and is not inclined to do so unless and until it enters a permanent

                                   9   injunction. The preliminary injunction will therefore only direct Tsargrad to maintain the existing

                                  10   pauses on any enforcement proceedings and to not file new enforcement actions.

                                  11          Second, Tsargrad urges the Court to allow it to file enforcement actions against Google’s

                                  12   affiliates. Although no Google affiliates are party to this lawsuit or the Google Terms, the Court
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                                  13   grants a preliminary injunction on the basis that the Google Terms prevent Tsargrad from

                                  14   enforcing its Russian judgment at all. There is no carveout allowing enforcement against

                                  15   affiliates. And including such a carveout in the preliminary injunction would go against the

                                  16   equities of the situation. A carveout like that creates an obvious workaround to the Court’s

                                  17   injunction, allowing Tsargrad to continue pursuing its retributive operation against Google by

                                  18   targeting Google’s affiliates. As such, the Court’s injunction extends to enforcement actions

                                  19   against both Google and its affiliates.

                                  20          Third, Tsargrad asks the Court not to limit enforcement in Russia. As the Court stated

                                  21   above, it is not doing so for comity reasons.

                                  22          Finally, Tsargrad asks that the Court order any proceeds from enforcement to be paid into

                                  23   the relevant foreign court during the pendency of this case rather than barring it from pursuing

                                  24   enforcement actions altogether. But the harm here stems from Google being forced to litigate

                                  25   against Tsargrad’s enforcement efforts. Tsargrad’s suggestion to effectively hold in escrow any

                                  26   proceeds from such litigation does not address Google’s irreparable harm from being forced to

                                  27   defend against enforcement actions.

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                                   1          C.      Anti-Anti-Suit Injunction

                                   2          The Court also finds that, under the Gallo test, it is appropriate to enjoin Tsargrad from

                                   3   seeking an anti-suit injunction against this lawsuit. First, an effort to halt these proceedings

                                   4   through an anti-suit injunction would deal with the same issues as this proceeding. Second,

                                   5   seeking an anti-suit injunction would frustrate United States’ strong policy in favor of forum

                                   6   selection clauses, Gallo, 446 F.3d at 992, and it would be vexatious, supra Section III.A.3. This

                                   7   satisfies two of the Unterweser factors. Finally, the impact on comity would be tolerable for the

                                   8   reasons discussed when analyzing the public interest above. Supra Section III.A.4. The Court

                                   9   therefore GRANTS an anti-anti-suit injunction against Tsargrad.

                                  10          D.      Bond

                                  11          Finally, Tsargrad asks for the Court to require Google to post a bond under Federal Rule of

                                  12   Civil Procedure 65(c). The Court has the discretion to “dispense with the filing of a bond when it
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                                  13   concludes there is no realistic likelihood of harm to the defendant from enjoining his or her

                                  14   conduct.” Johnson v. Couturier, 572 F.3d 1067, 1086 (9th Cir. 2009) (citation omitted). Under

                                  15   that standard, the Court finds that no bond is necessary.

                                  16   IV.    CONCLUSION

                                  17          The Court GRANTS Google’s preliminary injunction motion as to Tsargrad. The terms of

                                  18   the Court’s preliminary injunction are set forth below:

                                  19               1. The Stipulation and Order for interim relief at ECF No. 38 is replaced with the

                                  20                  terms set forth below.

                                  21               2. Tsargrad9 shall not commence or pursue suit in the Russian Arbitrazh Court or any

                                  22                  other Russian court to enjoin Google from continuing and/or pursuing this

                                  23                  proceeding, Case No. 5:24-cv-05423 in the Northern District of California.

                                  24               3. Tsargrad shall not attach, impair, or execute upon any assets of Google or its

                                  25                  affiliates in connection with any proceeding to enforce Tsargrad’s Russian

                                  26
                                       9
                                  27    When the terms of the preliminary injunction refer to Tsargrad, they include its officers, agents,
                                       servants, employees, attorneys, and all those in active concert or participation with them to the
                                  28   extent that those parties are acting on Tsargrad’s direction.
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                                   1                judgment outside of Russia (“Enforcement Proceedings”).

                                   2            4. Within three weeks of this Order, Tsargrad shall move to adjourn or stay all

                                   3                pending Enforcement Proceedings to the extent they are not already adjourned or

                                   4                stayed. If a court previously denied a request to adjourn or stay an Enforcement

                                   5                Proceeding, Tsargrad need not make a second request to adjourn or stay. Tsargrad

                                   6                shall not otherwise participate in any way in any Enforcement Proceeding, except

                                   7                that Tsargrad may respond to a direct order from a court in an unadjourned or

                                   8                unstayed Enforcement Proceeding.

                                   9            5. Tsargrad shall not initiate any new Enforcement Proceedings.

                                  10            6. Tsargrad shall not re-file any previously initiated Enforcement Proceedings that

                                  11                have been dismissed unless they are ordered to re-file within a finite time period

                                  12                that expires or otherwise would be precluded from re-filing by a limitations period.
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                                  13                If such Enforcement Proceedings are re-filed, Tsargrad shall move to adjourn or

                                  14                stay such proceeding in accordance with the fourth preliminary injunction term

                                  15                above.

                                  16         IT IS SO ORDERED.

                                  17   Dated: March 31, 2025

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                                                                                                  EDWARD J. DAVILA
                                  20                                                              United States District Judge
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